        Case 1:23-cv-02987-NRM-RER Document 9 Filed 05/16/23 Page 1 of 1 PageID #: 36
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Eastern District
                                             __________         of of
                                                         District  New  York
                                                                      __________


                  MARIA CONIGLIO, et al.                       )
                             Plaintiff                         )
                                v.                             )      Case No. 1:23-cv-02987-NRM-RER
 NICHOLAS CUCUZZA, DANIELA CUCUZZA, et al.                     )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

        Nicholas Cucuzza, Daniela Cucuzza, and APB Distribution LLC                                                    .


Date:          05/15/2023                                                                /s/ Brian A. Bloom
                                                                                          Attorney’s signature


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